                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

ROBERT SIMS, et al.,
                                      Plaintiffs,
v.                                                             1:15-CV-732
BB&T CORPORATION, et al.,
                                      Defendants.

 ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF CLASS
                   ACTION SETTLEMENT

     This litigation involves claims for alleged breaches of fiduciary duties in violation of

the Employee Retirement Income Security Act of 1974 (“ERISA”), as amended, 29

U.S.C. § 1001 et seq., with respect to the BB&T Corporation 401(k) Savings Plan

(“Plan”). Plaintiffs allege that BB&T Corporation violated its duties under ERISA based

on the BB&T Defendants’ management, operation and administration of the Plan. BB&T

Defendants deny and continue to deny the allegations, claims and contentions of the

Class Representatives, deny that it is liable at all to the Class, and deny that the

Settlement Class or the Plan has suffered any harm or damage for which BB&T

Defendants could be held responsible.

     In their Motion for Preliminary Approval of Class Action Settlement, the Class

Representatives seek preliminary approval of a settlement of the claims in this action

against BB&T Defendants (the “Settlement”). The BB&T Defendants consented to the

motion. The terms of the Settlement are set out in a Class Action Settlement Agreement

dated November 30, 2018 (“Settlement Agreement”), executed by the parties and their




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counsel.

    The Court has considered the proposed Settlement. For purposes of this Order, if not

defined herein, capitalized terms have the Definitions in the Settlement Agreement,

which is incorporated herein by reference. Having reviewed the Settlement Agreement

and the accompanying and supporting papers, it is ORDERED as follows.

    1.          Preliminary Findings Regarding Proposed Settlement: The Court

preliminarily finds that:

                A.    The proposed Settlement resulted from extensive arm’s-length

negotiations;

                B.    The Settlement Agreement was executed only after Parties engaged

in substantial litigation for almost three years and after settlement negotiations had

continued within that period for months, including an in-person mediation session with a

nationally recognized private mediator, and extensive telephonic and email

communications with and without a skilled mediator;

                C.    Class Counsel has concluded that the Settlement Agreement is fair,

reasonable and adequate; and

                D.    The Settlement is sufficiently fair, reasonable, and adequate to

warrant sending notice of the Settlement to the Settlement Class.

    2.          Fairness Hearing: A hearing is scheduled at the United States District

Court for the Middle District of North Carolina, the Honorable District Court Judge

Catherine Eagles presiding, at 10 a.m. on May 1, 2019, (the “Fairness Hearing”) to



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determine, among other issues:

             A.     Whether the Settlement Agreement should be approved as fair,

reasonable, and adequate;

             B.     Whether the notice, publication notice and notice methodology were

performed as directed by this Court;

             C.     Whether the motion for attorneys’ fees and costs to be filed by Class

Counsel should be approved;

             D.     Whether an amount of compensation to Class Representatives

should be approved; and

             E.     Whether the Administrative Expenses specified in the Settlement

Agreement and requested by the parties should be approved for payment from the Gross

Settlement Fund.

    3.       Establishment of Qualified Settlement Fund: A common fund is agreed

to by the parties in the Settlement Agreement and is hereby established and shall be

known as the Sims, et al. v. BB&T Corporation Litigation Settlement Fund (the

“Settlement Fund” or “Gross Settlement Amount”). The Settlement Fund shall be a

“qualified settlement fund” within the meaning of Treasury Regulations § 1.468-1(a)

promulgated under Section 468B of the Internal Revenue Code. The Settlement Fund

shall consist of $24,000,000.00 and any interest earned thereon. The Settlement Fund

shall be administered as follows:

             A.     The Settlement Fund is established exclusively for the purposes of:



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(a) making distributions to Class Representatives and the Settlement Class specified in

the Settlement Agreement; (b) making payments for all settlement administration costs

and costs of notice, including payments of all Administrative Expenses specified in the

Settlement Agreement; (c) making payments of all Attorneys’ Fees and Costs to Class

Counsel as awarded by the Court in this action; and (d) paying employment, withholding,

income and other applicable taxes, all in accordance with the terms of the Settlement

Agreement and this Order. Other than the payment of Administrative Expenses or as

otherwise expressly provided in the Settlement Agreement, no distribution shall be made

from the Settlement Fund until after the Settlement Effective Date.

              B.     Within the time period set forth in the Settlement Agreement, BB&T

Defendants shall cause $24,000,000 to be deposited into the Settlement Fund.

              C.     BB&T Defendants shall have no withholding, reporting or tax

reporting responsibilities with regard to the Settlement Fund or its distribution, except as

otherwise specifically identified herein. Moreover, BB&T Defendants shall have no

liability, obligation, or responsibility for administration of the Settlement Fund or the

disbursement of any monies from the Settlement Fund except for: (1) its obligation to

cause the Settlement Amount to be deposited into the Settlement Fund; and (2) its

agreement to cooperate in providing information that is necessary for settlement

administration set forth in the Settlement Agreement.

              E.     The oversight of the Settlement Fund is the responsibility of the

Settlement Administrator. The status and powers of the Settlement Administrator are as



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defined by this Order and as approved in the Settlement Agreement.

              F.      The Settlement Amount caused to be deposited by the BB&T

Defendants into the Settlement Fund pursuant to the Settlement Agreement, and all

income generated by that Amount, shall be in custodia legis and immune from

attachment, execution, assignment, hypothecation, transfer or similar process by any

person. Once the Settlement Fund vests, it is irrevocable during its term and BB&T

Defendants have divested itself of all right, title or interest, whether legal or equitable, in

the Settlement Fund, if any; provided, however, in the event the Settlement Agreement is

not approved by the Court or the Settlement set forth in the Settlement Agreement is

terminated or fails to become effective in accordance with its terms (or, if following

approval by this Court, such approval is reversed or modified), the Parties shall be

restored to their respective positions in this Case as of the day prior to the Settlement

Agreement Execution Date; the terms and provisions of the Settlement Agreement and

this Order shall be void and have no force and effect and shall not be used in this Case or

in any proceeding for any purpose; and the Settlement Fund and income earned thereon

shall immediately be returned to BB&T Corporation.

              G.      The Settlement Administrator may make disbursements out of the

Settlement Fund only in accordance with this Order or any additional Orders issued by

the Court.

              H.      The Settlement Fund shall expire after the Settlement Administrator

distributes all of the assets of the Settlement Fund in accordance with Article 6 of the



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Settlement Agreement, provided, however, that the Settlement Fund shall not terminate

until its liability for any and all government fees, fines, taxes, charges and excises of any

kind, including income taxes, and any interest, penalties or additions to such amounts,

are, in the Settlement Administrator’s sole discretion, finally determined and all such

amounts have been paid by the Settlement Fund.

              I.     The Settlement Fund shall be used to make payments to Settlement

Class Members under the Plan of Allocation set forth in the Settlement Agreement.

Individual payments to Settlement Class Members will be subject to tax withholding as

required by law and as described in the Class Notice and its attachments. In addition, all

Class Representatives’ Compensation, Administrative Expenses and all Attorneys’ Fees

and Costs of Class Counsel shall be paid from the Settlement Fund.

              J.     The Court and the Settlement Administrator recognize that there will

be tax payments, withholding and reporting requirements in connection with the

administration of the Settlement Fund. The Settlement Administrator shall, pursuant to

the Settlement Agreement, determine, withhold, and pay over to the appropriate taxing

authorities any taxes due with respect to any distribution from the Settlement Fund and

shall make and file with the appropriate taxing authorities any reports or returns due with

respect to any distributions from the Settlement Fund. The Settlement Administrator also

shall determine and pay any income taxes owing with respect to the income earned by the

Settlement Fund. Additionally, the Settlement Administrator shall file returns and reports

with the appropriate taxing authorities with respect to the payment and withholding of



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taxes.

              K.     The Settlement Administrator, in its discretion, may request

expedited review and decision by the IRS or the applicable state or local taxing

authorities, with regard to the correctness of the returns filed for the Settlement Fund and

shall establish reserves to assure the availability of sufficient funds to meet the

obligations of the Settlement Fund itself and the Settlement Administrator as fiduciaries

of the Settlement Fund. Reserves may be established for taxes on the Settlement Fund

income or on distributions.

              L.     The Settlement Administrator shall have all the necessary powers,

and take all necessary ministerial steps, to effectuate the terms of the Settlement

Agreement, including the payment of all distributions. Such powers include receiving and

processing information from Former Participants pertaining to their claims and investing,

allocating and distributing the Settlement Fund, and in general supervising the

administration of the Settlement Agreement in accordance with its terms and this Order.

              M.     The Settlement Administrator shall keep detailed and accurate

accounts of all investments, receipts, disbursements and other transactions of the

Settlement Fund. All accounts, books and records relating to the Settlement Fund shall

be open for reasonable inspection by such persons or entities as the Court orders.

Included in the Settlement Administrator’s records shall be complete information

regarding actions taken with respect to the award of any payments to any person; the

nature and status of any payment from the Settlement Fund and other information which



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the Settlement Administrator considers relevant to showing that the Settlement Fund is

being administered, and awards are being made, in accordance with the purposes of the

Settlement Agreement, this Order, and any future orders that the Court may find it

necessary to issue.

                N.    The Settlement Administrator may establish protective conditions

concerning the disclosure of information maintained by the Settlement Administrator if

publication of such information would violate any law, including rights to privacy. Any

person entitled to such information and who is denied access to the Settlement Fund’s

records may submit a request to the Court for such information. However, the Settlement

Administrator shall supply such information to any claimant as may be reasonably

necessary to allow him or her to accurately determine his or her federal, state and local

tax liabilities. Such information shall be supplied in the form and manner prescribed by

relevant law.

                O.    This Order will bind any successor Settlement Administrator. The

successor Settlement Administrator(s) shall have, without further act on the part of

anyone, all the duties, powers, functions, immunities, and discretion granted to the

original Settlement Administrator. Any Settlement Administrator(s) who is replaced (by

reason other than death) shall execute all instruments, and do all acts, that may be

necessary or that may be ordered or requested in writing by the Court or by any successor

Settlement Administrator(s), to transfer administrative powers over the Settlement Fund

to the successor Settlement Administrator(s). The appointment of a successor Settlement



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Administrator(s), if any, shall not under any circumstances require any BB&T Defendant

to make any further payment of any nature into the Settlement Fund or otherwise.

    4.          Class Notice: The Settling Parties have presented to the Court proposed

forms of Class Notice, which are appended hereto as Exhibit 1 and Exhibit 2,

respectively.

                A.    The Court finds that the proposed forms and the website referenced

in the Class Notice fairly and adequately:

                      i.      Describe the terms and effect of the Settlement Agreement

and of the Settlement;

                      ii.    Notify the Settlement Class concerning the proposed Plan of

Allocation;

                      iii.   Notify the Settlement Class that Class Counsel will seek

compensation from the Settlement Fund for the Class Representatives, Attorneys’ Fees

and Costs;

                      iv.    Notify the Settlement Class that Administrative Expenses

related to the implementation of the Settlement will be paid from the Settlement Fund;

                      v.     Give notice to the Settlement Class of the time and place of

the Fairness Hearing; and

                      vi.    Describe how the recipients of the Class Notice may object to

any of the relief requested and the rights of the Parties to discovery concerning such

objections.



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                B.   The Settling Parties have proposed the following manner of

communicating the notice to members of the Settlement Class, and the Court finds that

such proposed manner is the best notice practicable under the circumstances, and directs

that the Settlement Administrator shall by no later than sixty (60) days before the

Fairness Hearing, cause the Class Notice, with such non-substantive modifications

thereto as may be agreed upon by the Settling Parties, to be mailed, by first-class mail,

postage prepaid, to the last known address of each member of the Settlement Class who

can be identified through commercially reasonable means. BB&T Defendants shall

cooperate with the Settlement Administrator by providing, in electronic format, the

names, addresses, and social security numbers or other unique identifiers of members of

the Settlement Class. The names, addresses, and Social Security numbers or other unique

identifiers obtained pursuant to this Order shall be used solely for the purpose of

providing notice of this settlement and as required for purposes of tax withholding and

reporting, and for no other purpose.

                C.   For any Class Notice returned as undeliverable, the Settlement

Administrator shall utilize the provided Social Security number or other unique identifier

to attempt to determine the current address of the Person and shall mail notice to that

address.

                D.   At or before the Fairness Hearing, Class Counsel or the Settlement

Administrator shall file with the Court a proof of timely compliance with the foregoing

requirements.



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              E.       The Court directs Class Counsel, no later than sixty (60) days before

the Fairness Hearing, to cause the Class Notice to be published on the website identified

in the Class Notice.

    5.        Objections to Settlement: Any member of the Settlement Class who

wishes to object to the fairness, reasonableness or adequacy of the Settlement, to the Plan

of Allocation, to any term of the Settlement Agreement, to the proposed award of

attorneys’ fees and costs, or to any request for compensation for the Class

Representatives must file an Objection in the manner set out in this Order.

              A.       A member of the Settlement Class wishing to raise an objection to

the Plan of Allocation, to any term of the Settlement Agreement, to the proposed award

of attorneys’ fees and costs, or to any request for compensation for the Class

Representatives must do the following: (A) file with the Court a statement of his, her, or

its objection(s), specifying the reason(s), if any, for each such objection made, including

any legal support or evidence that such objector wishes to bring to the Court’s attention

or introduce in support of such objection; and (B) serve copies of the objection and all

supporting authorities or evidence to Class Counsel and Defense Counsel. The addresses

for filing objections with the Court and for service of such objections on counsel for the

parties to this matter are as follows:

              Clerk of the Court
              United States District Courthouse
              L. Richard Preyer Federal Building
              324 West Market Street, Suite 1
              Greensboro, NC 27401




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              SCHLICHTER, BOGARD & DENTON, LLP
              Attn: BB&T 401(k) Settlement
              100 S. 4th Street, Ste. 1200
              St. Louis, MO 63102
              Attorneys for Plaintiffs
              GROOM LAW GROUP, CHARTERED
              Attn: Michael J. Prame
              1701 Pennsylvania Ave., NW
              Washington, DC 20006
              Attorneys for the BB&T Defendants
              WOMBLE BOND DICKINSON (US) LLP
              Attn: Ronald R. Davis
              One West Fourth Street
              Winston-Salem, NC 27101
              Attorneys for the BB&T Defendants

              B.     The objector or his, her, or its counsel (if any) must serve copies of

the objection(s) on the attorneys listed above and file it with the Court by no later than

thirty (30) days before the date of the Fairness Hearing.

              C.     If an objector hires an attorney to represent him, her, or it for the

purposes of making such objection pursuant to this paragraph, the attorney must serve a

notice of appearance on the attorneys listed above and file it with the Court by no later

than thirty (30) days before the date of the Fairness Hearing.

              D.     Failure to serve objections(s) on either the Court or counsel for the

parties shall constitute a waiver of the objection(s). Any member of the Settlement Class

or other Person who does not timely file and serve a written objection complying with the

terms of this Order shall be deemed to have waived, and shall be foreclosed from raising,

any objection to the Settlement, and any untimely objection shall be barred.

              E.     Any party wishing to obtain discovery from any objector may, but is

not required to, serve discovery requests, including requests for documents and notice of


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deposition not to exceed two (2) hours in length, on any objector within ten (10) days of

receipt of the objection and that any responses to discovery or depositions must be

completed within ten (10) days of the request being served on the objector.

              F.     Any party wishing to file a response to an objection must do so, and

serve the response on all parties, no later than ten (10) days before the Fairness Hearing.

    6.        Appearance at Fairness Hearing: Any objector who files and serves a

timely, written objection in accordance with the terms of this Order as set out in

Paragraph 5 above may also appear at the Fairness Hearing either in person or through

counsel retained at the objector’s expense. Objectors or their attorneys intending to speak

at the Fairness Hearing must serve a notice of intention to speak setting forth, among

other things, the name, address, and telephone number of the objector (and, if applicable,

the name, address, and telephone number of the objector’s attorney) on Class Counsel

and Defense Counsel (at the addresses set out above) and file it with the Court by no later

than ten (10) days before the date of the Fairness Hearing. Any objector (or objector’s

attorney) who does not timely file and serve a notice of intention to appear in accordance

with this paragraph shall not be permitted to speak at the Fairness Hearing.

    7.        Claim Form Deadline: All valid claim forms must be received by the

settlement administrator with a postmark date no later than the date indicated on the

claim form.

    8.        Service of Papers: Defense Counsel and Class Counsel shall promptly

furnish each other with copies of all objections that come into their possession.



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    9.        Termination of Settlement: This Order shall become null and void, and

shall be without prejudice to the rights of the Settling Parties, all of whom shall be

restored to their respective positions existing the day before the Settlement Agreement

Execution Date, if the Settlement is terminated in accordance with the Settlement

Agreement.

    10.       Use of Order: This Order shall not be construed or used as an admission,

concession, or declaration by or against the BB&T Defendants of any fault, wrongdoing,

breach, or liability or a waiver of any claims or defenses, including but not limited to

those as to the propriety of any amended pleadings or the propriety and scope of class

certification. This Order shall not be construed or used as an admission, concession, or

declaration by or against any named plaintiff, Class Representatives, or the Settlement

Class that their claims lack merit, or that the relief requested in the Class Action is

inappropriate, improper or unavailable. This Order shall not be construed or used as a

waiver by any party of any arguments, defenses, or claims he, she, or it may have.

    11.       Parallel Proceedings: Pending final determination of whether the

Settlement Agreement should be approved, every Class Member is prohibited and

enjoined from directly, through representatives, or in any other capacity, commencing

any action or proceeding in any court or tribunal asserting any of the Released Claims

against the BB&T Defendants, the Released Parties, or the Plan.

    12.       Class Action Fairness Act Notice: The form of notice under the Class

Action Fairness Act of 2005 (“CAFA”) attached as Exhibit 3 complies with the



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requirements of CAFA and will, upon mailing, discharge the BB&T Defendants’

obligations pursuant to CAFA.

    13.        Continuance of Hearing: The Court may continue the Fairness Hearing

in its discretion without direct notice to the Settlement Class, other than by notice to

Class Counsel and Defense Counsel, and any class member wishing to appear should

check the Court’s website or docket or call the Clerk’s office three (3) days before the

scheduled date of the Fairness Hearing.

       IT IS SO ORDERED.

       This the 13th day of December, 2018.




                                           ________________________________
                                           UNITED STATES DISTRICT JUDGE




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